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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL # MDL NO. 2179

RIG “DEEPWATER

HORIZON” in the GULF OF SECTION : J
MEXICO, on

APRIL 20, 2010 * JUDGE BARBIER
THIS DOCUMENT RELATES *

TO ALL CASES AND CONSOLIDATED
ACTIONS IN MDL NO. 2179 and
COMPLAINT AND PETITION OF
TRITON ASSET LEASING

GMBH, ETAL, NO. 10-2771

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CASE MANAGEMENT ORDER NO. __

(TRIAL PLAN FOR FEBRUARY 27, 2012 PHASE I TRIAL ON LIABILITY,
LIMITATION, EXONERATION, AND FAULT ALLOCATION)

Considering the need for organization of this complex litigation, the Court adopts
the following Case Management Order No. _ and Trial Plan, which supplements Case
Management Order No. 1/Pre-Trial Order No. 11 (“CMO No. 1”) (Rec. Doc. No. 569),
and sets forth the following Trial Plan for the February 2012 trial of liability, limitation,

exoneration, fault allocation, and other issues (“Trial”) as follows:

1. Pursuant to Rule 9(h), the Trial will address the claims of certain
Transocean entities seeking exoneration or limitation of liability arising

from the marine casualty involving the Deepwater Horizon that occurred

on April 20, 2010;

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2. The Trial will address the liability portion of the following types of
claims, arising from the Deepwater Horizon marine casualty that occurred
on April 20, 2010:

(a) claims for property losses to the Deepwater Horizon rig and its
appurtenances, if any;

(b) claims for personal injury arising from the explosion and fire
aboard the Deepwater Horizon rig on or about April 20, 2010; and

(c) claims for wrongful death arising from the explosion and fire
aboard the Deepwater Horizon rig on or about April 20, 2010.

3, The Trial will also adjudicate the following core factual and legal issues
raised in many of the remaining claims currently pending in this MDL
proceeding:

(a) the allocation of fault for the initiation of an uncontrolled flow of
oil as of April 22, 2010; and

(b) the various Defendants’ conduct (e.g., the question of gross
negligence, willful misconduct, or reckless disregard) as regards
their contribution to the initiation of an uncontroiled flow of oil as
of April 22, 2010.

A. The following Plaintiffs shall participate in the Trial, either in their own

capacity or through representatives, as appropriate:

(a) All claimants in this proceeding whose complaints alleging
wrongful death are included in Pleading Bundle A;

(b) All claimants in this proceeding whose complaints alleging
personal injuries are included in Pleading Bundle A; and

(c) All claimants whose claims (or any affirmative defenses thereto)
implicate the core issues set forth in paragraph 3.

5. In instances where using representative Plaintiffs to represent a category

of Plaintiffs is appropriate, in accordance with CMO #1, by May 2, 2011,
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the PSC shall select an appropriate number of trial Plaintiffs from an
appropriately representative pool designated for bench trial pursuant to
Rule 9(h) who are representative of the category of Plaintiffs, as further
prescribed by order of the Court.

6. The following Defendants shall participate in the Trial:

(a) The Defendants for the claims under paragraph 1 shall be Triton
Asset Leasing GmbH, Transocean Holdings LLC, Transocean
Offshore Deepwater Drilling Inc., Transocean Deepwater Inc., and
any affiliated entities (collectively the “Transocean entities”).

(b) The Defendants for the liability portion of the claims in paragraph
2 and the issues in paragraph 3(a) and 3(b) shall be the Transocean
entities plus, if jurisdiction is established and the following entities
are named in cross claims or third party actions, Transocean Ltd.
and Transocean Inc.; BP Exploration & Production Inc., BP
America Production Company, BP p.Lc. (collectively the “BP
entities”); Halliburton Energy Services, Inc. (“Halliburton”); M-I,
LLC (“M-P’); Cameron International Corp. f/k/a Cooper Cameron
Corp. (“Cameron”); Anadarko Petroleum Corp., Anadarko E&P
Company LP (collectively the “Anadarko entities”); MOEX
Offshore 2007 LLC, MOEX USA Corp., Mitsui Oil Exploration
Company, Ltd, a/k/a MOECO (collectively the “MOEX entities”);
Weatherford International, Inc., Weatherford U.S.L.P. (collectively
the “Weatherford entities”); and Dril-Quip, Inc. (“Dril-Quip”).

7. Trial on the claims, portions of claims, and issues identified in paragraphs
1-3 will begin on February 27, 2012 at 9:00 AM and proceed for
approximately three (3) months.

8. The parties shall engage in pretrial motion practice to attempt to eliminate
or limit certain claims and defenses, and to resolve evidentiary and

Daubert issues. Unless otherwise disposed of during pretrial motion
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practice, the parties shall proceed to trial on all claims and issues
identified in paragraphs 1-3.

9. The Trial will proceed in admiralty among the Transocean entities,
Plaintiffs, and those Defendants the Transocean entities tendered pursuant
to Federal Rule of Civil Procedure 14(c) (“Rule 14(c) Defendants”), with
evidence presented as follows:

(a) In the first phase of the Trial, the Plaintiffs and Rule 14(c)
Defendants shalt bear the burden to adduce evidence of the
Transocean entities’ negligence and/or the unseaworthiness of the
Deepwater Horizon.

(b) If the Plaintiffs and Rule 14(c) Defendants meet their initial burden
of proof, then the second phase of the Trial will consist of the
Transocean entities having the burden of proof to show that: (1)
any such negligence or unseaworthiness was not within their
knowledge or privity; or (2) that the casualty was entirely caused
by the fault of others for whom they are not responsible.

(c) (Note: During the first phase of Trial the Plaintiffs, and during the
second phase of Trial the Transocean entities, will put on any
evidence to show the alleged fault of the Rule 14(c) Defendants.)
During the third phase of the Trial, the Rule 14(c) Defendants
will put on evidence of their defenses to liability against both the
Plaintiffs and Transocean entities.

(d) During the fourth phase of the Trial any additional evidence
needed to adjudicate the core, common factual and legal issues
described in paragraph 3.3 above will be presented.

10. The February 2012 trial of liability, limitation, exoneration, and fault
allocation shall encompass all events that are alleged to have caused the

loss of well control, blowout, explosions, fire, sinking of the Deepwater

Horizon, and the initiation of an uncontrolled flow of oil. At the
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conclusion of the Trial, the Court will make determinations as to the
following:

(a) exoneration and/or limitation of liability;

(b) allocation of fault on a percentage basis among the parties as

regards their contribution to causing an initiation of an
uncontrolled flow of oil as of April 22, 2010; and

(c) determinations of the quality or character of fault for each
individual defendant as regards their actions that did or may have
caused or contributed to the initiation of an uncontrolled flow of
oil as of April 22, 2010; and

ll. In addition to the general causation and fault determinations made in
connection with the initiation of an uncontrolled flow of oil as of April 22,
2010, the Court will also make specific causation and fault determinations
applicable to the individual rig property loss, personal injury arising from
the explosion and fire aboard the Deepwater Horizon rig on or about April
20, 2010, and wrongful death claimants.

12. The February 2012 trial will not address quantum of compensatory or
punitive damages, if any. The February 2012 trial will not determine the
efficacy of efforts, after April 20, 2010, to control the well following the
explosion and fire, or the number of barrels released, the flow rate, or the
maximum footprint of spilled oil. The February 2012 trial also will not
decide issues that are subject to arbitration provisions in contracts between
any of the parties. The February 2012 trial also will not address

governmental or other statutorily identified trustee claims for natural

resource damages, civil fines, penalties or other administrative relief. All
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such statutory claims for natural resource damages, civil penalties, other
civil fines or penalties, or other administrative relief shall be reserved for
future proceedings provided that Governmental entities or trustees
asserting such claims shall participate in the trial to the extent their claims
(or any affirmative defenses thereto) implicate the core issues set forth in
paragraph 3.

13. Upon further order of the Court, a Pre-Trial Notice will be issued
instructing the parties, inter alia, to submit a Joint Pre-Trial Order further
detailing the conduct of trial and presentation of evidence, including the
amount of trial time allocated to each party for the presentation of
evidence, the use of exhibits and demonstrative aids, the use of deposition
testimony, and other evidentiary matters.

The provisions of this Order may be modified in the interests of justice,

expedience or judicial economy on the Court’s own motion or by the motion of the

parties for good cause shown.

New Orleans, Louisiana this day of , 2011.

Carl J. Barbier
United States District Judge
